                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                       SOUTHERN DIVISION - DETROIT

IN RE:
TERRY HOWARD DEUTCH                               CASE NO: 19-43465
                                                  CHAPTER: 13
                                                  JUDGE:   OXHOLM
           Debtors           /

                Debtors' Chapter 13 Confirmation Hearing Certificate

    At the next confirmation hearing in this case, the debtor intends to:

    1. ___ Request confirmation of the debtor’s plan, because all timely objections of
    creditors and the trustee have been resolved. I have emailed to the trustee a proposed
    order confirming the plan, as required in paragraph 2 of the Chapter 13 Case
    Management Order.

    2. __xx_ Request confirmation of the debtor’s plan, even though all timely objections
    have not been resolved. I have emailed to the trustee a proposed order confirming the
    plan, as required in paragraph 2 of the Chapter 13 Case Management Order. The parties
    are at an impasse in attempting to resolve these objections despite all reasonable efforts.
    The following are: (a) the parties whose timely objections have not been resolved; (b)
    their unresolved objections; and (c) the legal and factual issues that must be resolved by
    the Court in connection with confirmation:

           Trustee Objections:


           1.      The Debtor indicates in Schedule A that the Debtor owns real property
                   located in Clinton Township, Michigan, with a fair market value of
                   $171,800.00. The Trustee requests that the Debtor provide an Appraisal
                   or the State Equalized Value to support this fair market value no later than
                   fourteen (14) days prior to confirmation; Counsel emailed the requested
                   documents on or about May 13, 2019. The appraised

           2.      The Trustee requests that the Debtor provide copies of three (3) post-
                   petition pay stubs at least 14 day prior to confirmation; Debtor’s counsel,
                   concurrently with this Confirmation Hearing Statement, will send the 3
                   post petition income advices to the Chapter 13 Trustee.

           3.      The Plan fails to provide that 100% of profit sharing funds and/or bonuses
                   received by the Debtor during the pendency of the Plan be remitted to the
                   Trustee for distribution among creditors in contravention of 11 U.S.C.
                   §1325(b) and In re Freeman, 86 F.3d 478 (6th Cir., 1996); Debtor does




 19-43465-mlo    Doc 36     Filed 05/14/19     Entered 05/14/19 15:56:04       Page 1 of 5
                not receive tax refunds and will submit any refunds to the Chapter 13
                Trustee if received during the pendency of this action.

         4.      The Trustee objects to the Debtor’s failure to disclose the ownership of a
                Smartphone on Schedule B as the Debtor testified at the §341 First
                Meeting of Creditors that he owns a Smartphone. The Trustee requests
                that the Debtor amend Schedule B, Schedule C and the Plan’s Liquidation
                Analysis accordingly, This objection was precipitated by the United
                States Trustee’s questioning of the debtor at the section 341 meeting of
                creditors. Since the cell phone value is less than $500.00; the Debtor
                can amend Schedule B and C and take any appropriate exemption under
                11 USC Sec. 522 (d)(3). The amendment should not impact liquidation
                and there should be no need to amend the Chapter 13 Plan.

         5.     A review of the Debtor’s Schedule I indicates a 401k loan in the monthly
                amount of $150.00. The Trustee requests the Debtor provide the specific
                date upon which this obligation will be paid in full. To the extend that this
                obligation will be paid in full during the pendency of the Chapter 13 case,
                the Trustee requests that best efforts be increased by the amount of the
                401k loan payment in the month immediately following the month in
                which the obligation is paid in full; The Debtor’s loan balance is
                $1418.35 which should be paid off by December 2019. Debtor will put
                language in the Order Confirming Plan allowing for a step of in
                payments.

         6.     The Debtor indicates on Schedule I that his spouse received social security
                in the amount of $882.00. The Trustee requests documentation that
                supports this income no later than fourteen days prior to confirmation;
                Per In re Baud, Debtor’s spouse’s social security income is not
                disposable income for purposes of this Chapter 13. This objection
                should be overruled. Debtor will provide proof of the spouse’s social
                security but scheduling it is not necessary under the Baud ruling.
                However, Debtor’s Spouse’s Social Security 1099 for 2018 was sent with
                the compliance documents and Debtor’s 2018 tax return.

         7.     The Debtor’s Plan fails to provide that all of the Debtor’s projected
                disposable income be utilized to fund the Plan. Specifically, the Debtor’s
                Schedule J has overstated the following expenses in contravention of 11
                U.S.C. §1325(a)(3) and/or 11 U.S.C. §1325(b);

                a. Condominium association dues - $231.00; Documents sent on or
                   about May 13, 2019.
                b. Medical and dental - $400.00 to be sent by confirmation
                c. Life insurance - $437.00; Documents sent on or about May 13, 2019
                d. Health insurance - $358.00 to be sent by confirmation
                e. Estimated income taxes - $250.00 to be sent by confirmation




19-43465-mlo   Doc 36    Filed 05/14/19     Entered 05/14/19 15:56:04        Page 2 of 5
                   The Trustee requests that the Debtor provide proof of these expenses with
                   fourteen days

          8.       The Trustee requests that the Debtor complete the Business Questionnaire
                   and return it to the Trustee at least fourteen (14) days prior to
                   confirmation; the Trustee’s business questionnaire will be submitted
                   prior to confirmation.

          9.       The Debtor indicates in the Statement of Financial Affairs that he has an
                   ownership interest in a business called Terry’s Floor Covering. The
                   Trustee objects as the Debtor has failed to list any income on Schedule I
                   from this business. The Trustee requests that the Debtor amend Schedules
                   I and J accordingly; Due to the illness of Debtor’s spouse, Debtor has
                   not been able to work full time with Terry’s Floor Covering. Contrary to
                   the Trustee’s objection, Debtor did file a business budget [Docket No.
                   17; page 27] which showed a negative income. As such, there was no
                   income to add to line 8a. of Schedule I.

          10.      The Debtor provided a business income and expense schedule for the year
                   2018. The Trustee would request that the Debtor provide verification of
                   the Debtor’s business income and expenses for the months that the Debtor
                   operated the business in 2019. Debtor will provide business statements
                   for January 2019 through April 2019 which will disclose the following
                   income and loss:
                   January 2019; Deposits $980, Debits $904.95
                   February 2019; Deposits $100, Debits $79.95
                   March 2019; Deposits $13,965.10, Debits $4875.84
                   April 2019; Deposits $3500.00, Debits $9018.33

                   Debtor’s net income for the last 4 months has been di minnimus. The
                   Trustee’s

   Creditor Objections:

                1. Home Point Financial Corporation: Home point alleges that Debtor was
                   delinquent in mortgage payments on his residence at the time of filing of
                   this matter. Debtor avers that he is current with direct mortgage
                   payments with Home Point Financial Corp. This objection should be
                   overruled.


   3. ___ Request an adjournment of the confirmation hearing to.                     , due
   to the following good cause: To allow a Pre-Confirmation Chapter 13 Plan to be filed.
   4. ___ Dismiss the case. [The Court will construe this as a motion by the debtor to
   dismiss the case under Fed.R.Bankr.P. 1017(f)(2), and the Court will enter an order of




19-43465-mlo     Doc 36     Filed 05/14/19    Entered 05/14/19 15:56:04       Page 3 of 5
      dismissal and the case will be removed from the docket, unless the case was previously
      converted from Chapter 7, 11, or 12 to Chapter 13. In that event, a separate motion to
      dismiss must be filed within 10 days.]
      5. ___ Convert the case to chapter 7. [The debtor must promptly file a separate notice of
      conversion under Fed.R.Bankr.P. 1017(f)(3), and pay the filing fee for such notice. Such
      notice of conversion will cause the case to be converted without the entry of an order of
      conversion.]


Dated: May 14, 2019                        /s/ William R. Orlow
                                           B.O.C. Law Group, P.C.
                                           William R. Orlow (P41634)
                                           Attorneys for Debtors
                                           24100 Woodward Avenue
                                           Pleasant Ridge, Michigan 48069
                                           248-584-2100
                                           bocecf@boclaw.com




  19-43465-mlo    Doc 36     Filed 05/14/19    Entered 05/14/19 15:56:04       Page 4 of 5
                           UNITED STATES BANKRUPTCY COURT
                            EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION - DETROIT

IN RE:
TERRY HOWARD DEUTCH                                 CASE NO: 19-43465
                                                    CHAPTER: 13
                                                    JUDGE:   OXHOLM
               Debtors         /


                                CERTIFICATE OF SERVICE


       William R. Orlow on May 14, 2019 did send the following pleadings: Debtor’s
Chapter 13 Confirmation Hearing Certificate, and proposed Order Confirming Plan were
filed with the Clerk of the Court using the ECF System, which will send notification of such
filing to the following:
                                       TAMMY L. TERRY
                                        CH. 13 TRUSTEE
                                   535 GRISWOLD, SUITE 2100
                                       DETROIT, MI 48226

                         HOME POINT FINANCIAL CORPORATION
                       C/O SOTTILE & BARILE, ATTORNEYS AT LAW
                                      PO BOX 476
                                 LOVELAND, OH 45140


Dated: May 14, 2019                         /s/ William R. Orlow
                                            B.O.C. Law Group, P.C.
                                            William R. Orlow (P41634)
                                            Attorneys for Debtor
                                            24100 Woodward Avenue
                                            Pleasant Ridge, Michigan 48069
                                            248-584-2100
                                            bocecf@boclaw.com




  19-43465-mlo       Doc 36    Filed 05/14/19    Entered 05/14/19 15:56:04        Page 5 of 5
